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19
                                  UNITED STATES DISTRICT COURT
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                  NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
21
      PATRICK CALHOUN, et al., on behalf of            Case No. 4:20-cv-5146-YGR-SVK
22    themselves and all others similarly situated,
                                                       DECLARATION OF JONATHAN TSE IN
23           Plaintiffs,                               SUPPORT   OF    GOOGLE   LLC’S
                                                       ADMINISTRATIVE MOTION TO SEAL
24                                                     PORTIONS OF GOOGLE LLC’S
             v.                                        SUBMISSION IN RESPONSE TO DKT.
25                                                     749
      GOOGLE LLC,
26                                                     Judge: Hon. Susan van Keulen, USMJ
             Defendant.
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 1          I, Jonathan Tse, declare as follows:
 2          1.      I am a member of the bar of the State of California and an attorney at Quinn Emanuel
 3 Urquhart & Sullivan, LLP, attorneys for Defendant Google LLC (“Google”) in this action. I make
 4 this declaration of my own personal, firsthand knowledge, and if called and sworn as a witness, I
 5 could and would testify competently thereto.
 6          2.      Pursuant to Civil Local Rule 79-5, I submit this declaration in support of Google
 7 LLC’s Administrative Motion to Seal portions of Google’s Submission in Response to Dkt. 749
 8 (“Google’s Submission”). In making this request, Google has carefully considered the relevant legal
 9 standard and policy considerations outlined in Civil Local Rule 79-5. Google makes this request
10 with the good faith belief that the information sought to be sealed consists of Google’s confidential
11 and proprietary information and that public disclosure could cause competitive harm.
12          3.      The information requested to be sealed contains Google’s confidential and
13 proprietary information regarding highly sensitive features of Google’s internal systems and
14 operations, including various types of Google’s internal projects, data signals, and logs, and their
15 proprietary functionalities, that Google maintains as confidential in the ordinary course of its
16 business and is not generally known to the public or Google’s competitors.
17          4.      Such confidential and proprietary information reveals Google’s internal strategies,
18 system designs, and business practices for operating and maintaining many of its important services,
19 and falls within the protected scope of the Protective Order entered in this action. See Dkt. 61 at 2-
20 3.
21          5.      Public disclosure of such confidential and proprietary information could affect
22 Google’s competitive standing as competitors may alter their identifier system designs and practices
23 relating to competing products. It may also place Google at an increased risk of cyber security
24 threats, as third parties may seek to use the information to compromise Google’s data sources,
25 including data logs, internal data structures and internal identifier systems.
26          6.      For these reasons, Google respectfully requests that the Court order Google’s
27 Submission to be filed under seal.
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 1         I declare under penalty of perjury of the laws of the United States that the foregoing is true
 2 and correct. Executed in San Francisco, California on July 7, 2022.
 3
 4 DATED: July 7, 2022                         QUINN EMANUEL URQUHART &
                                               SULLIVAN, LLP
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 6
 7                                               By          /s/ Jonathan Tse
                                                      Jonathan Tse
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                                                      Attorney for Defendant
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